                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  CYNTHIA B. SCOTT, et al.,             )
                                        )
                        Plaintiffs,     )
                                        )      Case No. 3:12-cv-00036-NKM
         v.                             )      Sr. Judge Norman K. Moon
                                        )
  HAROLD W. CLARKE, et al.,             )
                                        )
                        Defendants.     )
                                        )

                       JOINT MOTION TO SEAL MEDICAL RECORDS
                        PURSUANT TO SETTLEMENT AGREEMENT

         Pursuant to Local Civil Rule 9, the Parties, through their undersigned counsel, jointly

  move this Court to seal medical records admitted at the hearing on May 22, 2019 for Plaintiffs’

  Motion for Emergency Enforcement Pursuant to Settlement Agreement. Records that should be

  sealed include: Plaintiffs’ Exhibits 1, 2, 3, and 6 and Defendants’ Exhibits 1 and 2. All of these

  exhibits contain unredacted medical records of Margie Ryder and must be sealed to protect Ms.

  Ryder’s confidentiality and privacy interests.

         “The public’s right of access to judicial records and documents may be abrogated only in

  unusual circumstances.” Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). With

  respect to the sealing of documents that would otherwise be placed onto the public record, the

  Fourth Circuit has held as follows:

         [B]efore a district court may seal any court documents . . . it must (1) provide
         public parties a reasonable opportunity to object, (2) consider less drastic
         alternatives to sealing the documents, and (3) provide specific reasons and factual
         findings supporting its decision to seal the documents and rejecting the
         alternatives.

  Id.




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         The sensitive medical information of Ms. Ryder, just one of the Plaintiffs in this class

  action, should not be accessible to the public at large. The confidentiality of Ms. Ryder’s

  medical records coupled with the Parties’ limited request to seal only her medical records, weigh

  in favor of the Court granting the Motion to Seal the medical records.

         For the reasons stated above the Parties’ respectfully request that the Court grant their

  Motion to File Plaintiffs’ Exhibits 1, 2, 3, and 6 and Defendants’ Exhibits 1 and 2 Under Seal

  and grant them any further relief as the Court deems just and proper.

                                   DATED:         MAY 24, 2019


  By: ____/s/Brenda E. Castañeda________              By: ___/s/Nathan H. Schnetzler_______
  Attorneys for Plaintiffs                            Attorneys for Defendants

  Respectfully submitted,                             Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

  I hereby certify that on this 24th day of May, 2019, I will electronically file the foregoing with
  the Clerk of the Court using the CM/ECF system, which will then send a notification of such
  filing (NEF) to all counsel of record.


                                                      /s/Brenda E. Castañeda___________




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  CYNTHIA B. SCOTT, et al.,            )
                                       )
                        Plaintiffs,    )
                                       )       Case No. 3:12-cv-00036-NKM
         v.                            )       Sr. Judge Norman K. Moon
                                       )
  HAROLD W. CLARKE, et al.,            )
                                       )
                        Defendants.    )
                                       )

                                  PROPOSED ORDER TO SEAL

         This matter came before the Court on a Joint Motion of the Parties, by counsel, to file

  under seal Plaintiffs’ Exhibits 1, 2, 3, and 6 and Defendants’ Exhibits 1 and 2 from the May 22,

  2019 hearing on Plaintiffs’ Motion for Emergency Enforcement Pursuant to Settlement

  Agreement. Consistent with Local Rule 9 and Federal Rule of Civil Procedure 5.2, the Court

  hereby GRANTS the motion and ORDERS that the above-mentioned documents be sealed.

  These documents will remain sealed until further order of this court.

         It is so ORDERED.

         ENTERED this _____ day of May 2019.


                                       BY THE COURT:



                                       ________________________________________
                                       UNITED STATES DISTRICT COURT JUDGE




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  WE ASK FOR THIS:

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